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                            Case 18-12734-mkn  Claim Entered
                                                     16 Filed05/12/21 14:57:56
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     )LOOLQWKLVLQIRUPDWLRQWRLGHQWLW\WKHFDVH

 'HEWRU        6FKXOWH3URSHUWLHV//&
 'HEWRU 

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH         'LVWULFWRI1HYDGD/DV9HJDV'LYLVLRQ


 &DVHQXPEHU 



2IILFLDO )RUP 
3URRIRI&ODLP                                                                                                                                                 

5HDGWKHLQVWUXFWLRQVEHIRUHILOOLQJRXWWKLVIRUP 7KLVIRUPLVIRUPDNLQJDFODLPIRUSD\PHQWLQDEDQNUXSWF\FDVH 'RQRWXVHWKLVIRUPWRPDNHD
UHTXHVWIRUSD\PHQWRIDQDGPLQLVWUDWLYHH[SHQVH 0DNHVXFKDUHTXHVWDFFRUGLQJWR  86&

)LOHUVPXVWOHDYHRXWRUUHGDFW LQIRUPDWLRQWKDWLVHQWLWOHGWRSULYDF\RQWKLVIRUPRURQDQ\DWWDFKHGGRFXPHQWV $WWDFKUHGDFWHGFRSLHVRIDQ\GRFXPHQWV
WKDWVXSSRUWWKHFODLPVXFKDVSURPLVVRU\QRWHVSXUFKDVHRUGHUVLQYRLFHVLWHPL]HGVWDWHPHQWVRIUXQQLQJDFFRXQWVFRQWUDFWVMXGJPHQWVPRUWJDJHVDQG
VHFXULW\DJUHHPHQWV 'RQRWVHQGRULJLQDOGRFXPHQWVWKH\PD\EHGHVWUR\HGDIWHUVFDQQLQJ ,IWKHGRFXPHQWVDUHQRWDYDLODEOHH[SODLQLQDQDWWDFKPHQW

$SHUVRQZKRILOHVDIUDXGXOHQWFODLPFRXOGEHILQHGXSWRLPSULVRQHGIRUXSWR  \HDUVRUERWK  86&  DQG 

)LOOLQDOOWKHLQIRUPDWLRQDERXWWKHFODLPDVRIWKHGDWHWKHFDVHZDVILOHG 7KDWGDWHLVRQWKHQRWLFHRIEDQNUXSWF\ )RUP  WKDW\RXUHFHLYHG

3DUW              ,GHQWLI\WKH&ODLP
  :KRLVWKHFXUUHQW           7+(%$1.2)1(:<25.0(//21).$7+(%$1.2)1(:<25.$675867(()257+(&(57,),&$7(+2/'(562)&:$/7
    FUHGLWRU"                    ,1&$/7(51$7,9(/2$175867 &%0257*$*(3$667+528*+&(57,),&$7(66(5,(6&%



                                 2WKHUQDPHVWKHFUHGLWRUXVHGZLWKWKHGHEWRU

  +DVWKLVFODLPEHHQ               1R
    DFTXLUHGIURP
    DQ\RQHHOVH"                      <HV        )URPZKRP"

  :KHUHVKRXOGQRWLFHV         :KHUHVKRXOGQRWLFHVWRWKHFUHGLWRUEHVHQW"                             :KHUHVKRXOGSD\PHQWVWRWKHFUHGLWRUEHVHQW" LI
    DQGSD\PHQWVWRWKH                                                                                    GLIIHUHQW
    FUHGLWRUEHVHQW"
                                 6KHOOSRLQW0RUWJDJH6HUYLFLQJ                                             6KHOOSRLQW0RUWJDJH6HUYLFLQJ
   )HGHUDO5XOHRI               32%R[
   %DQNUXSWF\3URFHGXUH
    )5%3  J
                                 *UHHQYLOOH                          6&            
                                 &RQWDFWSKRQH                                                 &RQWDFWSKRQH      
                                 &RQWDFWHPDLO PWJEN#VKHOOSRLQWPWJFRP                                     &RQWDFWHPDLO

                                 8QLIRUPFODLPLGHQWLILHUIRUHOHFWURQLFSD\PHQWVLQFKDSWHU  LI\RXXVHRQH



   'RHVWKLVFODLPDPHQG            1R
     RQHDOUHDG\ILOHG"

                                      <HV        &ODLPQXPEHURQFRXUWFODLPVUHJLVWU\ LINQRZQ                                            )LOHGRQ

   'R\RXNQRZLIDQ\RQH            1R
  HOVHKDVILOHGDSURRI
      RIFODLPIRUWKLVFODLP"
                                      <HV        :KRPDGHWKHHDUOLHUILOLQJ"




2IILFLDO)RUP                                                          3URRIRI&ODLP                                              3DJH
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3DUW              *LYH,QIRUPDWLRQ$ERXWWKH&ODLPDVRIWKH'DWHWKH&DVH:DV)LOHG

   'R\RXKDYHDQ\QXPEHU           1R
     \RXXVHWRLGHQWLI\WKH
     GHEWRU"                          <HV     /DVW  GLJLWVRIWKHGHEWRU VDFFRXQWRUDQ\QXPEHU\RXXVHWRLGHQWLI\WKHGHEWRU        


   +RZPXFKLVWKHFODLP"                            'RHVWKLVDPRXQWLQFOXGHLQWHUHVWRURWKHUFKDUJHV"
                                                                       1R

                                                                         <HV   $WWDFKVWDWHPHQWLWHPL]LQJLQWHUHVWIHHVH[SHQVHVRURWKHU
                                                                               FKDUJHVUHTXLUHGE\%DQNUXSWF\5XOH  F  $ 


   :KDWLVWKHEDVLVRIWKH      ([DPSOHV *RRGVVROGPRQH\ORDQHGOHDVHVHUYLFHVSHUIRUPHGSHUVRQDOLQMXU\RUZURQJIXOGHDWKRUFUHGLWFDUG
     FODLP"
                                   $WWDFKUHGDFWHGFRSLHVRIDQ\GRFXPHQWVVXSSRUWLQJWKHFODLPUHTXLUHGE\%DQNUXSWF\5XOH  F 

                                   /LPLWGLVFORVLQJLQIRUPDWLRQWKDWLVHQWLWOHGWRSULYDF\VXFKDVKHDOWKFDUHLQIRUPDWLRQ

                                   0RQH\/RDQHG


   ,VDOORUSDUWRIWKHFODLP      1R
     VHFXUHG"
                                      <HV       7KHFODLPLVVHFXUHGE\DOLHQRQSURSHUW\

                                                1DWXUHRISURSHUW\         (FKR)DOOV$YH/DV9HJDV19

                                                      5HDOHVWDWH        ,IWKHFODLPLVVHFXUHGE\WKHGHEWRU VSULQFLSDOUHVLGHQFHILOHD Mortgage Proof of Claim
                                                                          Attachment 2IILFLDO)RUP $ ZLWKWKLV Proof of Claim.

                                                      0RWRUYHKLFOH

                                                      2WKHU 'HVFULEH

                                                %DVLVIRUSHUIHFWLRQ       1RWH0RUWJDJH

                                                $WWDFKUHGDFWHGFRSLHVRIGRFXPHQWVLIDQ\WKDWVKRZHYLGHQFHRISHUIHFWLRQRIDVHFXULW\LQWHUHVW IRU
                                                H[DPSOHDPRUWJDJHOLHQFHUWLILFDWHRIWLWOHILQDQFLQJVWDWHPHQWRURWKHUGRFXPHQWWKDWVKRZVWKHOLHQKDV
                                                EHHQILOHGRUUHFRUGVG

                                                9DOXHRI3URSHUW\

                                                $PRXQWRIWKHFODLPWKDWLVVHFXUHG                            

                                                $PRXQWRIWKHFODLPWKDWLVXQVHFXUHG                                       7KHVXPRIWKHVHFXUHGDQGXQVHFXUHG
                                                                                                                                 DPRXQWVVKRXOGPDWFKWKHDPRXQWLQOLQH 

                                                $PRXQWQHFHVVDU\WRFXUHDQ\GHIDXOWDVRIWKHGDWHRIWKHSHWLWLRQ                      

                                                $QQXDO,QWHUHVW5DWH ZKHQFDVHZDVILOHG             

                                                      )L[HG

                                                      9DULDEOH

   ,VWKLVFODLPEDVHGRQD        1R
      OHDVH"
                                      <HV       $PRXQWQHFHVVDU\WRFXUHDQ\GHIDXOWDVRIWKHGDWHRIWKHSHWLWLRQ


   ,VWKLVFODLPVXEMHFWWRD      1R
      ULJKWRIVHWRII"
                                      <HV       ,GHQWLI\WKHSURSHUW\




2IILFLDO)RUP                                                         3URRIRI&ODLP                                                 3DJH
                                                                                                                                      EXHIBIT E
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   ,VDOORUSDUWRIWKLVFODLP       1R
      HQWLWOHGWRSULRULW\XQGHU
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   $FODLPPD\EHSDUWO\                        'RPHVWLFVXSSRUWREOLJDWLRQV LQFOXGLQJDOLPRQ\DQGFKLOGVXSSRUW XQGHU
   SULRULW\DQGSDUWO\                          86&   D  $ RU D  % 
   QRQSULRULW\ )RUH[DPSOH
   LQVRPHFDWHJRULHVWKH                      8SWR RIGHSRVLWVWRZDUGSXUFKDVHOHDVHRUUHQWDORISURSHUW\RUVHUYLFHVIRU
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   HQWLWOHGWRSULRULW\
                                                :DJHVVDODULHVRUFRPPLVVLRQV XSWR HDUQHGZLWKLQ  GD\VEHIRUHWKH
                                                EDQNUXSWF\SHWLWLRQLVILOHGRUWKHGHEWRU VEXVLQHVVHQGVZKLFKHYHULVHDUOLHU
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                                                7D[HVRUSHQDOWLHVRZHGWRJRYHUQPHQWXQLWV 86&   D 

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                                              $PRXQWVDUHVXEMHFWWRDGMXVWPHQWRQ  DQGHYHU\  \HDUVDIWHUWKDWIRUFDVHVEHJXQRQRUDIWHUWKHGDWHRIDGMXVWPHQW



3DUW              6LJQ%HORZ

 7KHSHUVRQFRPSOHWLQJ               Check the appropriate box:
 WKLVSURRIRIFODLPPXVW
 VLJQDQGGDWHLW                           ,DPWKHFUHGLWRU
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                                     ,XQGHUVWDQGWKDWDQDXWKRUL]HGVLJQDWXUHRQWKLV Proof of Claim VHUYHVDVDQDFNQRZOHGJPHQWWKDWZKHQFDOFXODWLQJWKH
 $SHUVRQZKRILOHVD                DPRXQWRIWKHFODLPWKHFUHGLWRUJDYHWKHGHEWRUFUHGLWIRUDQ\SD\PHQWVUHFHLYHGWRZDUGWKHGHEW
 IUDXGXOHQWFODLPFRXOGEH
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                                      V%DUEDUD/HELHG]LHZLF]

                                              6LJQDWXUH

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                                     1DPH                   %DUEDUD/HELHG]LHZLF]

                                     7LWOH                  %DQNUXSWF\&DVH0DQDJHU

                                     &RPSDQ\                6KHOOSRLQW0RUWJDJH6HUYLFLQJ


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                                                                            +"           /"              *"         "         1"           3"           )"                             5"         6"                "
&                +              &                                                                                                                                                             4     
                                                                                  !0                           4                              .2           +
                        -                                                                                                                                                                               
                                                                                                                                                                  
                                                                                                                                                                                                                          
                                                                                                              2                                                                   


 99                          424               0   "        994;                                                                              424                                                       ;2=;
                    424                     424 -   "          =99            ;424
                                                                                                                                                                                                                                         Case 09-29123-mkn




 =99                        24               0   "        994;                                                                             24                                                       ;2;
 =99                        ;2;;       ;2;; -   "          994            ;424     24     ==2;                                                 ;;=2
 =99                         2;        2; -   "          994;            ;424                            2;                                                              2
                    424                     424 -   "          99            =24
                                                                                                                                                                                                                                                Case 18-12734-mkn




                    424                     424 -   "          99            24
 9=9                         5244              1            994;                                               5244                                                             ;2
                                                                                                                                                                                                                                                            Doc 1342-5




 9;9                         524              #8 &         994;                                               524                                                             2
                    424                     424 -   "          99            4244
                    424                     424 -   "          ;99            ;24
 ;9;9                         524              #8 &         994;                                               524                                                             424
                    424                     424 -   "          499           =424
                                                                                                                                                                                                                                                                   Claim Entered




 4949                      542               #8 &         994;                                              542                                                               2;
                                                                                                                                                                                                                                                                         16 Filed




                    424                     424 -   "          99           ;24
                    424                     424 -   "          99           ;;424
 99                        524              #8 &         994;                                               524                                                             5=2
                                                                                                                                                                                                                                                                                 05/12/21




                    424                     424 -   "          99           4;244
                    424                     424 -   "          99           24
                                                                                                                                                                                                                                                                                   09/12/18




 99                         524              #8 &         994;                                               524                                                             5=2=
                    424                     424 -   "          99           424
                    424                     424 -   "          99           =24
                                                                                                                                                                                                                                                                                          14:57:56




                    424                     424 -   "          =99           24
                    424                     424 -   "          99           244
                    424                     424 -   "          99           424
                                                                                                                                                                                                                                                                                              Page 5Page




 9;9                         5;4244              1            994;                                               5;4244                                                             5;2=
 9;9                         52;              #8 &         994;                                               52;                                                            542=
                    424                     424 -   "          99           ==;24
                    424                     424 -   "          ;99           ;24
                                                                                                                                                                                                                                                                                                     of 215 of 162




 ;9;9                         524              #8 &         994;                                               524                                                            52
                    424                     424 -   "          499          4424




EXHIBIT E
 499                         ;4244               1     - !          994;                                               ;4244                                                             52
                    424                     424 -   "          99          =244


6  +(8                                                                                                                                                                    ! ;
                                                                                                                                                                                                  

                          

                             

  $) *  + & &  

"            ,"               "           &"          ."                                                                                                                     "                                                   7"
                                                                               +"           /"              *"          "         1"           3"           )"                             5"         6"                "
&                +               &                                                                                                                                                                4     
                                                                                     !0                            4                              .2           +
                        -                                                                                                                                                                                   
                                                                                                                                                                      
                                                                                                                                                                                                                              
                                                                                                                  2                                                                   


                    424                     424 -   "             99          24
 99                        524               #8 &           994;                                                524                                                            52=
                                                                                                                                                                                                                                             Case 09-29123-mkn




                    424                     424 -   "             99=           ;24
                    424                     424 -   "             99=           ;424
 99=                         524               #8 &           994;                                                524                                                            5;=2=
                    424                     424 -   "             99=           4=;24
                                                                                                                                                                                                                                                    Case 18-12734-mkn




 949=                        =;2                0   "          994;                                                                              =;2                                                       442=
 949=                         5=2=               % < 'A            994;                                                5=2=                                                            542
                                                                                                                                                                                                                                                                Doc 1342-5




 949=                        5=4=2;                 'A         994;                       5=4=2;                                                           442==
 99=                        2                0   "          994;                                                                              2                                                       ;=2
 99=                       52                1    'A 5  ,    994;                                  52
 99=                         5424               0   "          994;                                                                              5424                                                       ;2
 99=                         5424               0   "          994;                                                                              5424                                                       2
                                                                                                                                                                                                                                                                       Claim Entered




 99=                         5424       5424 -   "            994;           4=;24    52;    2=      52;                                   4;2                524
                                                                                                                                                                                                                                                                             16 Filed




 99=                       5;2;;       5;2;; -   "            994;           4=;24     52    5==2                                                4;;2
 99=                         5424               0   "          994;                                                                              5424                                                       =;2=
 99=                         52;       52; -   "            994;           4=;24                             52;                                                            542;
                                                                                                                                                                                                                                                                                     05/12/21




 99=                       5;2;;       5;2;; -   "            994;           4=;24     524    5==42=;                                                42
 99=                         5424               0   "          994;                                                                              5424                                                       42;
                                                                                                                                                                                                                                                                                       09/12/18




 99=                         52;       52; -   "            994;           4=;24                             52;                                                            52
 99=                       5;2;;       5;2;; -   "            ;994;           4=;24     5=2==    5=2                                                2;
 99=                         5424               0   "          994;                                                                              5424                                                       =2
                                                                                                                                                                                                                                                                                              14:57:56




 99=                         5424               0   "          994;                                                                              5424                                                       42
 99=                         52;       52; -   "            994;           4=;24                             52;                                                            542
 99=                       5;2;;       5;2;; -   "            4994;          4=;24     5==2    5=2                                                2
                                                                                                                                                                                                                                                                                                  Page 6Page




 99=                         5424               0   "          994;                                                                              5424                                                       ;=2
 99=                         52;       52; -   "            994;           4=;24                             52;                                                            5;;24
 99=                        5;2;;      5;2;; -   "            994;          4=;24     5=;2;    5=24                                                42
 99=                         5424               0   "          994;                                                                              5424                                                       ;42=
                                                                                                                                                                                                                                                                                                         of 216 of 162




 99=                         52;       52; -   "            994;           4=;24                             52;                                                            5;2=
 99=                        5;2;;      5;2;; -   "            994;          4=;24     52    5=2                                                42




EXHIBIT E
 99=                         5424               0   "          994;                                                                              5424                                                       2;
 99=                         52;       52; -   "            994;           4=;24                             52;                                                            5=2


6  +(8                                                                                                                                                                        ! ;
                                                                                                                                                                                               

                          

                             

  $) *  + & &  

"            ,"               "           &"          ."                                                                                                                  "                                                   7"
                                                                            +"           /"              *"          "         1"           3"           )"                             5"         6"                "
&                +               &                                                                                                                                                             4     
                                                                                  !0                            4                              .2           +
                        -                                                                                                                                                                                
                                                                                                                                                                   
                                                                                                                                                                                                                           
                                                                                                               2                                                                   


 99=                       5;2;;       5;2;; -   "         994           4=;24     52=    5=;2                                                ;2;
 99=                         5424               0   "       994;                                                                              5424                                                       4;2
                                                                                                                                                                                                                                          Case 09-29123-mkn




 99=                         52;       52; -   "         994;           4=;24                             52;                                                            5=2
 99=                       5;2;;       5;2;; -   "         994           4=;24     524    5==2;                                                =4;2;
                    424                     424 -   "          99=           =244
 99=                                                0   'A        994;
                                                                                                                                                                                                                                                 Case 18-12734-mkn




 99=                        ==2=                % < 'A         99                                               ==2=                                                              24
 99=                      542;=                  'A      99                      542;=                                                           ;2
                                                                                                                                                                                                                                                             Doc 1342-5




 99=                        2       2 -   "          99           =244     ;2      2      2;                                    =42=                 442
 99=                        2       2 -   "          99           =244     ;42      ;42      2;                                    =;2                 24
 99=                        2       2 -   "          99           =244     ;42;=      ;=24      2;                                    ;2                 2=;
 99=                        2       2 -   "          994          =244     ;2==      ;;2      2;                                    =;=2                 4=2
 99=                        2       2 -   "          994          =244     ;2      =42      2;                                    ;42;                 2;
                                                                                                                                                                                                                                                                    Claim Entered




 99=                        2       2 -   "          4994          =244     ;2      =42      2;                                    42                 ;2
                                                                                                                                                                                                                                                                          16 Filed




 99=                        2       2 -   "          ;994           =244     =2      =2=      2;                                    24                 4;2=
 99=                        2       2 -   "          994           =244     2      =2      2;                                    =24                 ;2=
 99=                        2       2 -   "          994           =244     2      =2      2;                                    2                 ==2
                                                                                                                                                                                                                                                                                  05/12/21




 99=                        2       2 -   "          994           =244     24      ==2;      2;                                    4;=2=                 =2;
 99=                        2       2 -   "          =994           =244     2=      =;2      2;                                    ;2                 ==2
                                                                                                                                                                                                                                                                                    09/12/18




 99=                        2       2 -   "          994           =244     2      =2      2;                                    24                 =4424
 99=                        2       2 -   "          994           =244     =;2;      =24      2;                                    ;42;                 42;
 99=                        2       2 -   "          994           =244     ==2      =2      2;                                    42                 2
                                                                                                                                                                                                                                                                                           14:57:56




 99=                        2       2 -   "          994           =244     =2==      =2      2;                                    ;=2;                 =2
 99=                        2       2 -   "          994;          =244     24      ==42=;      2;                                    =2=                 24
 99=                        2       2 -   "          994;          =244     2      ==2      2;                                    =4=2=                 ;2=
                                                                                                                                                                                                                                                                                               Page 7Page




 99=                        2       2 -   "          4994;          =244     ;2      ==2      2;                                    24;                 4;2
 99=                        2       2 -   "          ;994;           =244     =24      =2;      2;                                    24                 2
 99=                        2       2 -   "          994;           =244     24      =2;      2;                                    444244                 ==2
 99=                            42               % < 'A         994;                                                   42                                                             =2
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 99=                           542               0   'A        994;                                                                                542                                                       4;24
 99=                         424        424 -   "          499          =244     42;      =2                                                ;24




EXHIBIT E
 99=                         424        424 -   "          ;99           =244     42      =2                                                =2=
 99=                         424        424 -   "          99           =244     ;2=      =;24;                                                ;2


6  +(8                                                                                                                                                                     ! ;
                                                                                                                                                                                                      

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                                                                                                                                                                                                                               
                                                                                                               2                                                                  


 99=                         424        424 -   "           99           =244     2     =;2;                                               42=
 99=                         424        424 -   "           99           =244     2     =42;                                               =2
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 99=                         424        424 -   "           =99           =244     2     =2;                                               4;=24
 99=                         424        424 -   "           99           =244     2     =2;                                               424
 99=                         424        424 -   "           99           =244     24     =2=                                               4=2
 99=                         424        424 -   "           99           =244     =2     =2                                               42;=
                                                                                                                                                                                                                                                      Case 18-12734-mkn




 99=                         424        424 -   "           99           =244     2=     =2;=                                               424
 99=                         424        424 -   "           99          =244     2;     =2                                               4=2
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 99=                         424        424 -   "           99          =244     2     ==2                                               ;;;=24
 99=                         424        424 -   "           499          =244     2     ==2;;                                               ;2=
 99=                         424        424 -   "           ;99           =244     2;     =2                                               ;42=
 99=                         424        424 -   "           99           =244     2     =2                                               ;=4;2
 99=                         424        424 -   "           99           =244     42=;     =24                                               ;2
                                                                                                                                                                                                                                                                         Claim Entered




 99=                         424        424 -   "           99           =244     =;2;     =2                                               ;2=
                                                                                                                                                                                                                                                                               16 Filed




 99=                         424        424 -   "           =99           =244     =;2     =;2                                               ;4;2;
 99=                         424        424 -   "           99           =244     =24     ==4244                                               42;
 99=                      52;                0   'A         99                                                                          52;                                                              542;
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                    424                     424 -   "           =99=           ;24
                    424                     424 -   "           99=           =24
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                    424                     424 -   "           99=           24
 99=                         5;244               1            499                                              5;244                                                            =2
 949=                         5=24               #8 &         499                                              5=24                                                            42
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                    424                     424 -   "           99=           4;24
 99=                       5442=                % <           99                                             5442=                                                            442=
 99=                                               0   'A         99
                                                                                                                                                                                                                                                                                                    Page 8Page




                    424                     424 -   "           ;99=           4244
 ;9;9=                                         5=244  "             99                                                              5=244                                                                 =244
                    424                     424 -   "           499=          ==4;24
 499=                         5=2;=               #8 &         499=                                              5=2;=                                                            42
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 499=                        =2;=                #8 - !    -      99                                              =2;=                                                             442=
                    424                     424 -   "           99=          24




EXHIBIT E
                    424                     424 -   "           99=          ;24
 99=                        5=2;=               #8 &         99=                                             5=2;=                                                            42


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                                                                                                                                                                                                                        
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                    424                     424 -   "           99           =24
 99                                         5=244  "             99                                                             5=244                                                           4244
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 99                                       5=4244 ' "             99                                                            5=4244                                                      4244
 9;9                                       544244 ' "             99                                                            544244                                                      =4244
                    424                     424 -   "           99           244
 99                                         5=244  "             99                                                             5=244                                                      =;=244
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 99                          5=2;=               #8 - !  -        99                                             5=2;=                                                      ;2
 949                         5=2;=               #8 &         99                                              5=2;=                                                      2
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                    424                     424 -   "           99           ;4=24
                    424                     424 -   "           99           ;24
 99                                        5244  " 1        99                                                             5244                                                      4244
 99                                        5=2   '            99                                                              5=2                                                      2
                    424                     424 -   "           =99           4;24
                                                                                                                                                                                                                                                               Claim Entered




 =99                                        5=2   '            =99                                                              5=2                                                      2
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 =99                                        5244  " 1        99                                                             5244                                                      ;2
                    424                     424 -   "           99           24
 99                                         5244  " 1        99                                                             5244                                                      42
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 99                                        5=2   '            99                                                              5=2                                                      42;
                    424                     424 -   "           99           244
                                                                                                                                                                                                                                                                               09/12/18




 99                                        5=2   '            99                                                              5=2                                                      =2
 949                                        5244  " 1        99                                                             5244                                                      2
 9=9                         5=2               #8 &         9;9                                             5=2                                                      ;;42
                                                                                                                                                                                                                                                                                      14:57:56




                    424                     424 -   "           99           =;=24
 99                          54244               1            99                                             54244                                                      =2
 99                                        5=2   '            99                                                              5=2                                                      2=
                                                                                                                                                                                                                                                                                          Page 9Page




 99                                        5244  "             99                                                             5244                                                      2=
                    424                     424 -   "           ;99           424
 ;99                                        5244  "             99                                                             5244                                                      =42=
 ;99                                       5=2=4 *   #          99                                                            5=2=4                                                     42=
                                                                                                                                                                                                                                                                                                 of 219 of 162




 ;99                         5=2=               #8 &         499                                             5=2=                                                      2
 ;99                                        5=2   '            ;99                                                              5=2                                                     24




EXHIBIT E
                    424                     424 -   "           499          424
 499                                       42   +7          99                                                              42                                                     2


6  +(8                                                                                                                                                             ! ;
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                                                                              +"           /"              *"        "         1"           3"             )"                    5"         6"                "
&                +                &                                                                                                                                                      4     
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                        -                                                                                                                                                                          
                                                                                                                                                            
                                                                                                                                                                                                                     
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 499                                       5=2   '             499                                                             5=2                                                     42=
 499                                       5244  " 1         99                                                             5244                                                     42=
                                                                                                                                                                                                                                  Case 09-29123-mkn




                    424                     424 -   "            99          24
 99                                       5=2   '             99                                                             5=2                                                     =24
 99                                       5244  " 1         99                                                             5244                                                     ;24
                    424                     424 -   "            99          =4244
                                                                                                                                                                                                                                         Case 18-12734-mkn




 99                        5=2=                #8 &         99                                            5=2=                                                       42;
 99                                       42   +7           99                                                              42                                                     ;2
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 9=9                                       5244  " 1         99                                                             5244                                                     2
 99                                       5=2   '             99                                                             5=2                                                     2=
 99                                       =2   +7           99                                                              =2                                                     2
                    424                     424 -   "            99           24
 99                                         5==244 *                   99                                                             5==244                                                     2
                                                                                                                                                                                                                                                            Claim Entered




 99                                        5244  " 1         99                                                             5244                                                     ;2
                                                                                                                                                                                                                                                                  16 Filed




 99                                        5=2   '             99                                                              5=2                                                     2=
                    424                     424 -   "            99           24
 99                                        54=244 *   #           99                                                            54=244                                                     ;2=
                                                                                                                                                                                                                                                                          05/12/21




 99                                        54244 *                   99                                                            54244                                                     ;2=
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EXHIBIT E
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/RDQDJUHHPHQWVWKDWSURYLGHGIRULQWHUHVWFDOFXODWHGDWDGDLO\VLPSOHUDWHZLOOEHUHVHWWRUHIOHFWDVWDQGDUGDPRUWL]DWLRQUDWHGXULQJWKH
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